                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK

STEPHEN KERSHNAR,

                    Plaintiff,                 Case No.: 1:23-cv-00525
      v.
STEPHEN H. KOLISON, JR, in his                 NOTICE OF MOTION AND MOTION
individual capacity and his official           TO APPEAR PRO HAC VICE
capacity as the President of the State
University of New York at Fredonia, et
al.,
                    Defendants.


      PLEASE TAKE NOTICE that upon the accompanying petition of Adam
Steinbaugh, sworn to the 7th day of June, 2023; the sponsoring affidavit of Barry

Covert; the Attorney's Oath of Adam Steinbaugh; the Affirmation by Adam

Steinbaugh to the Civility Principles and Guidelines; and the Attorney Database &

Electronic Case Filing Registration Form, the undersigned will and hereby does

move this Court, at the United States District Courthouse, 100 State Street,

Rochester, N.Y., 13261 for an order pursuant to L. Civ. R. 83.1(i) of the United

States District Court for the Western District of New York, granting admission pro

hac vice of Adam Steinbaugh, to participate in this action on behalf of the Plaintiff.



Dated: June 13, 2023                     Respectfully submitted,


                                         /s/ Barry N. Covert
                                         Barry N. Covert, Esq.
                                         LIPSITZ GREEN SCIME CAMBRIA LLP
                                         42 Delaware Avenue — Suite 120
                                         Buffalo, New York 14202
                                         Phone: (716) 849-1333
                                         Email: bcovert@lglaw.com

                                         Counsel for Plaintiff

                                           1
                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF NEW YORK
IN THE MATTER OF THE APPLICATION OF


Adam Steinbaugh
                  (Name)

TO BE ADMITTED TO PRACTICE AS AN ATTORNEY




TO THE HONORABLE                    Lawrence J. Vilardo                      , JUDGE OF THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK:
Adam Steinbaugh                                          , petitioner herein, respectfully states:

1. That petitioner has an office for the practice of law at:

   510 Walnut Street, Suite 1250, Philadelphia, PA 19106
2. That petitioner attended the following educational Institutions and received the following degrees:
    Loyola Law School, J.D.
    Whittier College, B.A., Liberal Arts



3. Please complete either (a), (b) or ( c):
                                                          Admission by Petition

(a) That petitioner was admitted to practice by the Appellate Division of the Supreme Court,             Department of the State of
New York on the           day of

Additional Requirements:        Admission Sponsoring Affidavit
                                Attorney's Oath
                                Civility Principles Oath
                                Attorney Database Form
                                Attorney CM/ECF Registration Form
                                *Include the Pro Bono Volunteer Panel Form if you wish to become a member of the
                                Court's Volunteer Pro Bono Panel.

                                               Admission by Certificate of Good Standing

(b) That petitioner was admitted to practice in the United States District Court of the                 District of New York
on the          day of                     ,          , and is a member of the bar of the State in which that district court is located
and In which the petitioner maintains an office for the practice of law.

Additional Requirements:        Certificate of Good Standing from the Clerk of Court of which he or she is a
                                member (dated no earlier than six months prior to submission to this Court)
                                Check or money order in the amount of the Attorney Admission fee set forth in the District Court
                                Schedule o€ Fees
                                Attorney's Oath
                                Civility Principles Oath
                                Attorney Database Form
                               Attorney CM/ECF Registration Form
                               *include the Pro Bono Volunteer Panel Form If you wish to become a member of the Court's
                               Volunteer Pro Bono Panel.

                                                     Pro Hac Vice Admission
                                                              California
(c) That petitioner is admitted to practice in the State of

Additional Requirements:        Motion to Appear Pro Hac Vice
                                Check, Money Order or payment of fee on line In the amount of the Pro Hac Fee set forth in the
                                District Court Schedule of Fees
                                Admission Petition Form
                                Admission Sponsor Affidavit
                                Attorney's Oath
                                Civility Principles Oath
                                Attorney Database Form
                                Attorney CM/ECF RegIstatIon Form
4. Petitioner is admitted to the following courts:
   C.D. Cal., S.D. Cal., N.D. Cal., E.D. Cal., E.D. Pa., D. Colo., 11th Cir.
5. Since such admission(s), petitioner has practiced in the following courts:

   C.D. Cal.; 11th Cir.; pro hac vice: N.D. Tex, N.D. Fla, N.D. Ga, S.D. Ga, Tenn Ct App
and has been involved In the following professional activities:

   drafting and filing complaints, motions, and briefs; presenting CLEs

6. That petitioner or the petitioner's client (In a case In which the applicant represented the client) has never been held in contempt
of court, sanctioned, censured in a disciplinary proceeding, suspended or disbarred by any court or admonished by any disciplinary
committee of the organized bar, nor is the subject of any pending complaint before any court. (If number 6 is not true, the          •
applicant shall strike that paragraph and shall file a separate confidential statement under seal specifying the court or disciplinary
committee imposing the sanction, the date, the Facts giving rise to the disciplinary action or complaint, the sanction Imposed, and
such other Information, including any facts of a mitigating or exculpatory nature as may be pertinent, arid such confidential
statement, together with the petition, shall promptly be transmitted by the Clerk to the Chief Judge of the District for review.)



7. That petitioner has read and Is familiar with the provisions of Title 28 of the United States Code that pertain to jurisdiction of
and venue in a United States District Court, the Federal Rules of Civil and Criminal Procedure, the Federal Rules of Evidence, the
Local Rules of Practice for the United States District Court for the Western District of New York and the New York Rules of
Professional Conduct (22 NYCRR Part 1200).




         WHEREFORE, the petitioner respectfully requests to be admitted as an attorney in the United States District Court for
the Western District of New York.

           I verify under penalty of perjury that the foregoing is true and correct.




                                                                                               (Signature of Retitione


Sworn to before me this          day of    SSret            6P,3



Notary Public



                                              Commonweactp of Pennsylvania - Notary Sea,
                                                  ALYSSA BENNETT - Notary Public
                                                       Philadelphia County
                                                My Commission Expires Marcn 9, 2026
                                                   Commission Number 1416216
                                                                                                                         (Revised 2020)
                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF NEW YORK



                          APPENDIX TO CIVILITY PRINCIPLES

                                       OATH OF OFFICE


I do solemnly swear (or affirm):

I will support the Constitution of the United States and the Constitution of the State of New
York; I will maintain the respect due to Courts of Justice and judicial officers;

I will not counsel or maintain any suit or proceeding which shall appear to me to be unjust nor
any defense that I do not believe to be honestly debatable under the law of the land;

In maintaining the causes confided to me, I will employ only means that are honorable, and will
never seek to mislead the judge or jury by an artifice or false statement of fact or law;

I will maintain the confidences and preserve inviolate the secrets of my client, and will accept
compensation solely from the client or a third-party with the knowledge and approval of the
client;

I will abstain from all offensive behavior and advance no fact prejudicial to the honor and
reputation of a party or witness, unless my ethical duty requires;

I will in all other respects conduct myself personally and professionally in conformity with the
high standards of conduct imposed upon members of the bar who practice law in this State and
before this Court.




                                                             (Signature)
                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF NEW YORK


                                        ATTORNEY'S OATH


STATE OF Pennsylvania
                                           ) SS:
Philadelphia             COUNTY            )



          1, Adam Steinbaugh                        of Philadelphia, PA
                                                                                      City, State
do solemnly swear or affirm that I will demean myself, as an attorney and counselor of the United

States District Court for the Western District of New York, uprightly and accordingly to law; and I will

support the Constitution of the United States, So help me God.



                                                                         Signature of Attorue




Subscribed and sworn to before me this      A-
day of - 3kStr..,t,       , OopS



                      Notary Public




                                         Commonwealtn of Pennsyivania • Notary Seai
                                             ALYSSA BENNETT - Notary Public
                                                  Philadelphia County
                                           My Commission Expires March 9, 2026
                                               Commission Number 1416216




Rev. 2/2000
                                                 UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF NEW YORK



IN THE MATTER OF THE APPLICATION OF

Adam Steinbaugh                                                                                                      SPONSORING
              (Name)                                                                                                  AI'FIDAVIT
TO BE ADMITTED TO PRACTICE AS AN ATTORNEY



STATE OF NEW YORK             )
                                  ) ss:
      Erie
COUNTY OF


Barry N. Covert                                                         , being duly sworn deposes and says:




1. I reside at:

1505 Grover Road, East Aurora, New York 14052
and maintain an office for the practice of law at:
                                                     LipSitz, Green, Scime, Cambria LLP
42 N. Delaware Avenue, Buffalo, New York 14202

2. I am an attorney at law, admitted to practice in the   State of New York
                                                               , I was admitted to practice in the United States District Court for the

Western District of New York on the       18th        day of   June                             1990
3. I have known the petitioner since
                                          February 2022                                                and under the following

circumstances:
I have worked with Adam on the instant matter, as his organization (the Foundation for Individual Rights and Expression)

arranged for my representation of Stephen Kershnar in connection with his expression and SUNY Fredonia's response.


4. I know the following about the petitioner's moral character and fitness to be admitted to practice in this Court:
Adam's moral character is of the highest calibre and he is fit to be admitted to practice before this Court.




                                                                                      Signature of Sp_nsoring
                                                                                                   Sponsoring Attorney



       to before to this
                           13th
                                  da
                                           une             2023.                     MEGAN G. COMMAROTO
                                                                                   Notary Public, State of New York
                                                                                       Reg. No. 01CO6297521
                    Notary P                                                           Qualified in Erie County
                                                                                  Commission Expires 02/24/20 -iv'.
                     UNITED STATES DISTRICT COURT
                           Western District of New York

          ATTORNEY DATABASE & ELECTRONIC CASE FILING REGISTRATION FORM

The Clerk's Office maintains a computerized database of attorneys admitted in the District. To ensure the data
we enter for you is correct, please fill out the form below and submit it with your other papers when you are
admitted. Our local rules require you to report name, firm affiliation, office address or phone number changes
within 30 days.

This form shall also be used to register for an account on the Courts' Case Management/Electronic Files
(CM/ECF) system. Registered attorneys will have privileges to electronically submit and to view the electronic
docket sheets and documents. By registering, attorneys consent to receiving electronic notice of filings through
the system. The following information is required for registration:

Instructions: PLEASE TYPE OR PRINT. If you use two surnames or have a hyphenated surname, please
indicate how you would like the name entered into our records, i.e., first surname as middle name, both surnames
in last name field, etc.


 First Name:   Adam
                   B
 Middle Name or Initial:

 Last Name: Steinbaugh

 Firm Name: Foundation for Individual Rights and
                                                 Expression
 Firm Address: 510 Walnut Street



 Suite: 1250
 City: Philadelphia
                                                19106
                                State: PA Zip:

 Phone Number:
                 215 717 3473         FAX Number:

 Primary E-Mail Address: adam@thefire.org

 Additional E-Mail Address:

 Does your E-Mail Software support HTML messages? Yes X                   No




                                                 Page 1 of 2
Attorneys seeking to file documents electronically must be admitted to practice in the
United States District Court for the Western District of New York.

       Method of Admission:    Pro hac vice
       (Petition, Certificate of Good Standing, pro hac vice)

       Date admitted to practice in this Court: pending
       (write "pending" if admission is pending)

       If admitted pro hac vice:
       Date motion for pro hac vice granted:                              in case number:

By submitting this registration form, the undersigned agrees to abide by all Court rules, orders and policies and
procedures governing the use of the electronic filing system. The undersigned also consents to receiving notice
of filings pursuant to Fed. R. Civ. P. 5(b) and 77(d) via the Court's electronic filing system. The combination of
user id and password will serve as the signature of the attorney filing the documents.

Attorneys must protect the security of their passwords and immediately notify the court if they learn that their
password has_-bed c, promised.

                                                                June 13, 2023
Signature of Re    trant                                     Date


Please note that this form is required to be completed by any new attorneys seeking to be admitted to this District.
If you have been previously admitted to practice in this court and are submitting this registration to request an
account, you may fax the form to (716) 551-1705, or mail it to the following address:


                                              Mary C. Loewenguth
                                           United States District Court
                                           Attn: CM/ECF Registration
                                                2 Niagara Square
                                            Buffalo, New York 14202



*OPTIONAL: Your login and password will be sent to you by the Office of the Clerk via the e-mail address you
provided on your registration form. If you prefer to have your login and password sent by U.S. Mail, please
write the address below and mark your initials as approval for an alternate delivery method:

          Firm Address:




          Attorney Initials:




                                                   Page 2 of 2
